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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JAMIE OBREGON ACOSTA,                       )
INDIVIDUALLY AND ON BEHALF OF               )
OTHERS SIMILARLY SITUATED,                  )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )
                                              CIVIL ACTION FILE NO.:
                                            )
SMART ALABAMA, LLC; AND AGWM                )
                                              1:22-CV-01209-TWT
UNITED, LLC; TOTAL EMPLOYEE                 )
SOLUTION SUPPORT, LLC; WK LAW               )
GROUP, PC; AND WOON KIM,                    )
                                            )
                                            )
      Defendants.                           )
                                            )

     DEFENDANT SMART ALABAMA, LLC'S MOTION FOR DISMISSAL
           OF PLAINTIFF'S FIRST AMENDED COMPLAINT

      COMES NOW Defendant, SMART Alabama, LLC ("SMART"), pursuant to

Rules 12(b)(6) and 12(b)(2) of the Federal Rules of Civil Procedure, and hereby

moves this Court to dismiss Count I of Plaintiff's First Amended Complaint (FAC)

(ECF No. 18) for failure to state a claim and Counts II, III, and IV for lack of

personal jurisdiction. Court V of the FAC is not asserted against SMART. In

support of its Motion, SMART relies on the Declaration of Jung-Woo Lee attached

hereto and the memorandum of law filed contemporaneously herewith.
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s/ Michael L. Lucas                      s/ Jon M. Gumbel
Michael L Lucas (pro hac vice)           Jon M. Gumbel
Marcel L. Debruge                        Georgia - GA Bar #315195
Ingu Hwang                               BURR & FORMAN LLP
BURR & FORMAN LLP                        171 17th Street, NW
420 North 20th Street, Suite 3400        Suite 1100
Birmingham, Alabama 35203                Atlanta, GA 30363
Telephone: (205) 251-3000                Telephone: (404) 815-3000
Facsimile: (205) 458-5100                Facsimile: (404) 817-3244
mlucas@burr.com                          jgumbel@burr.com
mdebruge@burr.com
ihwang@burr.com




               Attorneys for Defendant SMART ALABAMA, LLC




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document by
Notice of Electronic Filing via CM/ECF, or, if the party served does not participate
in Notice of Electronic Filing, by U.S. First Class Mail on this the 20th day of
September, 2022:

                                 Daniel Werner
                               James E. Radford
                         RADFORD & KEEBAUGH, LLC
                           315 W. Ponce de Leon Ave.
                                   Suite 1080
                             Decatur, Georgia 30030
                              Attorneys for Plaintiff

                                   Brian G. Kim
                                  Brian Kim, PC
                               1815 Satellite Blvd.
                                    Suite #403
                             Duluth, Georgia 30097
                         Attorney for AGWM United, LLC

                                 David R. Kresser
                            FISHER & PHILLIPS, LLP
                         1075 Peachtree Street, NE #3500
                              Atlanta, Georgia 30309
                 Attorney for Total Employee Solution Support, LLC

                                   Betsy Bulat
                                   Fei Drouyor
                 MARTENSON, HASBROUCK & SIMON, LLP
                          2573 Apple Valley Road, NE
                              Atlanta, Georgia 30319
                 Attorney for WK Law Group, P.C., and Woon Kim


                                             s/ Michael L. Lucas
                                             OF COUNSEL

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